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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

   UNITED STATES, et al.,

                        Plaintiffs,

         v.
                                                           No. 1:23-cv-00108-LMB-JFA
   GOOGLE LLC,

                        Defendant.



                    DEFENDANT GOOGLE LLC’S MOTION TO SEAL

        Pursuant to Local Civil Rule 5(C), Defendant Google LLC, by undersigned counsel,

 hereby moves the Court for an order granting Google’s motion to seal. Google seeks leave to file

 a redacted Opposition to Plaintiffs’ Motion for Leave to Take Two Additional Google

 Depositions. This motion is made on the grounds set forth in the accompanying Memorandum in

 Support of Defendant Google’s Motion to Seal. A proposed order is submitted herewith.



  Dated: October 25, 2023                       Respectfully submitted,

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